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      L                  A                  W                    S
         ENACTED IN THE FIRST SITTING

                         OF    THE      FIRST


            GENERAL                     ASSEMBLY
                              OF     T HE

                  COMMONWEALTH
                                   0F


       P E NNS"L                             'A2N I               ,
      Which began at Phi!adelphia, November 28, 1776, .and
       was continued by adjournments to March 2 r, 3777.



                         CHAPTER               1.
      Adn A C T to enable afmaller number of the memker) of f- 777"
        fembly than a quorum to colleei the abfent meiltrs, and e----n
         i/ue writs Jor filling vacancies occaftoned by negle&t or 7bhqifi rear
                                                                   of the CO.
         re/ufal.

      SECTION I.                    1H ER E A S it is found ne- Preamble.
                                      ceffary to impower a lefs
                                      number than two thirds of
      the reprefentatives of the freemen of this flate, in affem-
       bly met, to collrt the abfent members, in order that the
      public bufinefs may not be delayed;
         SECT. 2. Be it therefore enated, and ;t is herdy enaeled, Ifa quornm
      by the reprefentativesof the freemen of the commonwealth innfix fLonot
                                                                         meet
                                                                         days,
      Pennfylvania, in general qffemb met, and by the authority Vf fpeaker
      theJame, That from and after the publication of this a&, for aend
                                    A                           if members.
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          TIIOMAS          WHAR7rON, gun. Efq. Prejdent.'
        current in all payments by all perfons, as well in their          '777.
        private as in their politic or corporate capacity :              Tvifirfl riear,
           SECT. 2.  Be it enaied by the reprefentatives of the free- of the Coln-
        men of the commonwealth oj Pennfylvania in generalaembly
        met, and by the authorty of the fame, That all'the bills of All bills of
                                                                       credit iffi-
        credit declared to be legal tender by the faid firft recited ed by the
        af, and alfo the bills of credit emitted,, and to be emit- ,,3ooo afft
        ted, by virtue of the faid laft recited a6t, fhall be legal to be legal
                                                                       ten der to
        tender, not orly to thofe perfons and creditors therein bodies po-
        mentioned, but alfo to all bodies politic and corporate; litie? &C.
        which faid bodies flalI be deemed and taken to be fubjedt,
        in all rcfpe&s, to all the fines and forfeiures in the 1fiid
        a&s mentioned, which the perfons or creditors therein
        named are or ought to be fubjed to, for any offence com-
        mitted againft the above recited a&s, as fully and effec-
        tually, to all intents and purpofes, as if the faid bodies
        politic or corporate had been expreflly named in the faid
        ad.:

                            JOHN BAYARD,                  SPEAKER.

          EnaaTed into a law the I 3 tb Day of June, 1777.?
        JOHN MORRI s,junior,clerk of the generalqefemhby. 5




                      CHAPTER                  XXI.

        An A C T, obliging the male white inhabitants of this
         flate to give a//urances of* allegiance to the Jame, and
         Jor other purpofes therein mentioned.
        SECTION I.        7 H E R E A S by the feparation of Preamble.
                      VY    the thirteen united ftates from the
        government of the crown and parliament of Great Bri-
        tain (who, by their ads of oppreflion and cruelty, as
        fet forth in the declaration of independence by con-
        grefs, bearing date the fourth day of July, 1776, had
        rendered fuch feparation, on the part of the faid ftates,
        abfolutely neceffary for their own happinefs, and the
        happinefs of fucceeding generations) the good people
        of the ftate of Pennfylvania are become free and inde-
        pendent of the faid crown and parliament.
            SECT. 2. And whereas from fordid and merce- Inhabitants
        nary m tives, or other caufes inconfiftent with the hap- to
                                                                          take the
                                   (pinefs                             oath,&c, of
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                         His      EXCELLENC Y
  1777.          pinefs of a free and independent people, findry per-
                 fons have or may yet be induced to withhold their
 7Tbefirfi rea 1
 Cf/ the Cow-    fervice and allegiance from the commonwealth of Penn-
 ronwrealthb.
                 fylvania as a free and independent flate, as declared by
 allegiance congrefs: And whereas fundry other perfons, in their
 before the feveral capacities, have, at the ritk of their lives and the
 fir't of July.
                 hazard of their fortunes, or both, rendered great and
                 eminent fervices in defence and fupport of the faid inde-
                 pendence, and may yet continue to do the fame; and as
                 both thofe forts of perfons remain at this time mixed, and
                 in fome meafure undiftinguifhed from each other, the dif-
                 affe&cd dcriving undefcrve'd fervice from the faithful and
                 well affecetcd :A .1nd whereas allegiance and protedion are
                 reciprocal ; and thofe who will not bear the former, are
                 not nor ought to be entitled to the benefits of the latter :
                 Therefore, Be it enated by the reprefentatives of the freemen
                 of the commonwealth of Penn/ylvania, in generalajifmbly met,
                 and by the authority olthe lame, I hat all male white inha-
                 bitants of this flate, (except of the counties of Bedford,
                 Northumberland and Weflmoreland) above the age of
                 eighteen years, flall, on or before the firit day of July
                 next, take and fubfcribe the following oath or affirmation
                 before fome one of the juftices of the peace of the city or
                 county where they fhall refpe&ively inhabit; and the inha-
                 bitants of the faid counties of Bedford, Northumberland and.
                  Weftmoreland, above the faid age, fhall, on or before the
                  firft day of Auguft next, take and fubfcribe the faid oath
                  or affirmation, before fome one of the juftices of the faid
                  three counties laft mentioned, in which they flall re-
                  fpetively inhabit; and the faid juftice fball give a certifi-
                  cate thereof to every fuch perfon and the faid oath or
                  affirmation fliall be as followeth, viz.

  The oath.       c' I                  do./'wear, or affrm, that 1 renounce
              "   and refufe all allegiance to George the third, king of Great
              " Britain, his heirs andfuccejfors; and that I will be faith-
                 fiul and bear true allegianceto the commonwealth of Penn-
              "jlvania as a free and independentJate ; anl that I will
                " not at any time do, or cauje to be done, any matter or
                 Sthing that will be prejudicial or injurious to the freedom
                   and independer,ce thereof, as declared by congrels ; and affo
               "   that I will ditcover and make known, to jbme one juflice
                  of' peace o' tbe./aidflate, all treajons, or traitorous con-.
              "Ipiracies, which I now know or herea/terfJal/ know to
                  be Jorined agaijt tis or any of the united JIates of
                  America."
                                                                              And
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               THOMAS           JVIIAR7'ON,        un. Ef1 . Prefldent,               63
            And the form of the faid certificate (hall be as fol-             1777.
          loweth, viz.                                                       Ibe firfl rear
                                                                             ef  the Corn-
                 Ido hereby certify, that              hath volun- ,,,nea,b.b
          cc tar'dy taken and fitb/cribed the oath or aJirmnation o/ The certi-
             allegiance andfidelity, as direted by an aU o/" general Vhcat:-
           , a/,mby o/ Penn/,lvania, pai/d the thirteenth day of
             "June, A. D. 1777. PI'jtne/i my band and jeal, the
          ,'           da- oj            A. D.                     (L .S.)
               SECT.    .. And be it further enatled by the authority Ju1tlces to
          aiore/fid, That th, juftice or juftices of the peace, before keep regif-
          whom flch oath or affirmation (hall be fuifcribed, ters          or the
                                                                       names and
          Ihall keep fair regifters of the names and firnames tranfiteo-
          of the perfons fo -fworn or affirmed, and the time pies to the
          when, and (hall, on or before the firft day of Oao- recorder          of
                                                                       deeds, who
          ber in every year, tranfinit in writing, under his or their ie t reord
          hands and feals, to the office of recorder of deeds for the thein.
           faid city or county, a true lift of the names and furnames
           of thofe who, within the fame year, have fo lvorn or af-
           firmed before them refpedively ; and the faid juftice of'
          juftices (ball have and receive therefor, and for the faid
           certificate, the fum of one f(illing, and -no more,
           for every perfon fo fworn or affirmed; and the laid
          juftice or juftices fliall lay their accounts before the
           county commiflioners, or any two of them, from time to
           time, to be examined and allowed; and the faid com-
           mifflioners flall draw orders on the county treafurers for
           fitch rums as (ball be fo allowed, which orders the faid
           trealfrers arc. hereby authorifed and required to pay out
           of the flate taxes ; and the recorders of deeds, in the city
           and feveral counties of this fiate, are hereby enjoined to
           record the faid lifts, in books to be prepared for that
           purpofe, and (hall'be paid for the fame, in the fame man-
           ner as the juftices, at the rate of five dillings for every
           hundred names.
           . SECT. 4. And he it further enaaed by the athority Incapactileg
           afore/aid, That every
                            -    perfon above the age aforefaid refufing 2nd
                                                                         ties onpenal-
                                                                                 thol'e
            or neglc&ing to take and ftibfcribe the laid oath or who he-
          affirmation, (hall during the' time of fuch negle& or gled or re.
                                                                 fne to
          refulI, be incapable of holding any office or place of f'wear or af-
           truft in this ftate, ferving. on juries, fuing for any debts, firm,
           eleding or being ele&ed, buying, felling or transferring
           any lands, tenements or hereditaments, and fhall be dif-
           armed by the lieutenant or fublicutenants of the city or
           counties refpedively.
              bECT. 5" And whereas there is a danger of having the Nonjutrors
                                                                     feeds travelling,
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                             His     EXCELLENCY
      1777.       feecds of difcord and difaffe&ion greatly fpread by perfons,
    r      --     whofe politic principles are not known, removing or
   V      C... travelling from one part of the Rfate, to another, and it is
    nonwdfb.      well known that this Rfate is already become (and likcly
   to be taken to be more fo) an afylum for refugees flying from the juft
   uip, and the refentment of their fellow citizens in other flates: For
   oath, &c.
   tenderedto remedy whereof, Be it ena&Ied by the authority a/ore/ai,
   be commit- 'Ihat every perfon above the age aforefaid, who Ihall
   ted on re- travel, out of the county or city in which he ufuaily
   fuihl.        relides, without the certificate aforefaid, may be fuf-
                 pe&ed to be a fpy, and to hold principles inimical to
                 the united fiates, and fliall be taken before one of the
                juftices neareft to the place where he hall be appre-
                hended, who (hall tender to him the faid oath or affirtna-
                tion; and upon his refufal to take and fibfcribe the
                faid oath or affirmation, the faid juftice/(hall commit
                him to the common goal of the city or county, there
                 to remain without bail or mainprife until he fhall take
                and fubfcribe the faid oath or affirmation, or produce
                a certificate that he hath already done fo.
   Travellers       SECT. 6. dnd be it iurther enatled by the authority
   from other a/ore/aid, That all perfons coming from any            of the
   takes te other united Rfates into this flate are hereby
                                                                   required
   oath, &c.      to apply to one of the nearefr juftices after he enters
                  this flate, and take and fubfcribe the faid oath. or af-
                  firmation, upon the penalty of being dealt with as in
                  the cafe of perfons travelling or removing out of the
                  city or county in which they ufually refide, unlefs he
                  can produce a certificate that he hath taken an oath
                  or affirmation of the like nature in the flate from
                  whence he came.
   Except de-       SECT. 7. Provided always neverthelefi, That delegates
   lcgates, &c.   in congrefs, prifoners of war, office- and foldiers in
                  the continental army, merchants and mariners trading
                  in the ports of this ftate, from foreign powers in
                  amity with the united flates, and not becoming re-
                  fident, are declared not to be within the intent and
              meaning of ihis a&.
   Forgers or   bECT. 8. And be it Jurther enaeted, That if any
   counter-     perfon fliall forge fuch certificate, as by this a& is to
   feiters of   be made out and given by any one of the juffices of
   Ccrtificates
   to be fied the peace of this fiate; or (hall caufe or procure
   fiftypounds others to forge or counterfeit the name and feal of
   orwhipped. the juftice of the peace Lo fuch certificate, or fhall,
                by erafing or otherwife taking out, or covering or
                palling over, a man's name thatwas wrote in a true
                and genuine certificate, alter the fame fo as to ferve
                                                                      his
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           THOMAS         WHARTON, Yun. Ef7 . Prden.                          6
        his own or any other man's purpofes; or fhal pro-              I777.
        duce and make ufe of any ffich certificate, knowing           Tb tfire ar
        it to be forged or altered; every fich perfon and per-        f      cop
        fons fo offending, and being thereof legally convic1ed        ,,l,,,0,,b.
        before any court of. general qlarter feflions of the
        peace of the city or county where fuch offence [hall
        be committed, (hall be fined the fum of fifty pounds,
        and be committed to jail, until he pays the fine and
        colts of profecution: And if he (ball not, within the
        fpacc of thirty days, fatisfy the judgment of the court,
        he (hall be whipped with any number of lafhes nob
        exceeding thirty nine, on his bare back, well laid on.

                          JOHN BAYARD,               SP.2AKER.

          Enaled into a law the i 3 tb Day of June, 1777.
        JoHN MoRRis,junior, clerk of the generalajfembly.



                       CHAPTER             XXI.
        A fupplement to the a , intitled, "An Ae for amend-
           c ing the feveral a&s for eleding members of
             affembly."

        SECTION I.    "THEREAS           by one of the faid ads, Preamble.,
                      W   intitlcd, "An A& to afcertain the
          'number of members of aembly, and to regulate the
           eleelons," paffed in the year of our Lord one
       thoufand feven hundred and five, it is ena~Led, "That
        - the heriff, or fome other of the perfons appointed
       "cjudges of the eledion of members of affembly,
           fhall open the paper of an illiterate eledor contain-
           ("
       "' ing the names of thofe perfons for whom he votes,
           read the fame names, and afk luch elelor whether
          thefe are the perfons for whom he votes."
          SECT. 2.   And whereas it is highly dangerous to the No 1heriff
        freedom of eleaions in this commonwealth that the or judge of
        iheriffs and .other perfons appointed judges of eleltons-,o e t1
                                                                       n to
        fhould continue to be invefted with the power of read any
        fearching and difcovering for whom any eledtor (hall ticket.
        vote to reprefent him: Be it therefore enaIed, and
        it is hereby enaaIed by the reprefentatives of the freemen
        of the commonwealtb of Pennfylvania in general a//mbly
        met, and by the authority of the fame, That from and
        after the pafing of this a&, no fheriff, coroner,       in-
                               R                            fpeaor,
